782 F.2d 1043
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.MARINELL PRICE, Plaintiff-Appellantv.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    85-5805
    United States Court of Appeals, Sixth Circuit.
    12/13/85
    
      ORDER
      BEFORE:  ENGEL, KENNEDY and MILBURN, Circuit Judges.
      This matter is before the Court on the motion of the appellee, the Secretary of Health and Human Services, to remand for reconsideration pursuant to the new mental impairment regulations.  The motion is unopposed.
      The appellant, Marinell Price, is appealing the district court order dated July 31, 1985, denying the plaintiff's motion for summary judgment, affirming the Secretary's decision to deny benefits and dismissing the case.  The appellant filed a notice of appeal with the district court on August 30, 1985.
      Section 5(c)(1) of the Social Security Disability Benefits Reform Act of 1984, Pub. L. No. 98-460, requires the Secretary to reexamine any case receiving a final administrative decision after October 9, 1984, in which a denial of disability benefits based on alleged mental impairment was made.  The Appeals Council of the Social Security Administration affirmed the decision of the Administrative Law Judge denying benefits on October 11, 1984.  The language of Pub. L. No. 98-460, Section 5(c)(1) is mandatory and the case must therefore be remanded.
    
    
      1
      Accordingly, pursuant to 42 U.S.C. 405(g) it is ORDERED that the judgment of the district court is vacated and the cause is remanded to the district court for further remand to the Secretary of Health and Human Services for readjudication according to the new regulations promulgated pursuant to Pub. L. No. 98-460.
    
    